Letters to the judge                                                                     https://mail.aol.com/webmail-std/en-us/PrintMessage
                            Case 3:20-cr-00007-KRG Document 1864 Filed 01/03/23 Page 1 of 1

                  From:    keegsmcc98@gmail.com,
                     To:   Shbegler@aol.com,
                Subject:   Letters to the judge
                   Date:   Mon, Jan 2, 2023 5:08 pm
           Attachments:    IMG_20230102_170534312.jpg (3095K), IMG_20230102_170516380.jpg (3349K), IMG_20230102_170719780.jpg
                           (3480K)




            3 Attached Images




1 of 1                                                                                                                   1/3/2023, 7:45 AM
